Case 2:23-cv-00434-JAM-JDP Document 1-3 Filed 03/08/23 Page 1 of 13




              EXHIBIT A
                   Case 2:23-cv-00434-JAM-JDP Document 1-3 Filed 03/08/23 Page 2 of 13

                                               S UIYIIYIONS                                                              ~           FOR COURT USE ONLY
                                                                                                                                 tSOLO PARAUSOOELACOR7E)
                                      (CITACIOIY JUDICIAL)

NOTICE TO DEFENDANT:                                                                                                            EEeCtL'C3C1iCa{ly Flied
(AVlSO AL DEMANDADO):                                                                                                        tlperior Court of Catiforni;
AMAZOhF.COfvt SERVICES LLC; and DOES 1-20, inclusive                                                                         6ounfy of' Sa.n Joaquin
                                                                                                                              2Q23-01-26 7 3:59:44
YOU ARE BEING SUED BY PLAINTIFF:                                                                                               Clef'k: KaCe}r SUttof1
(LO ESTA DEMANDANDO EL DEMANDANTE):
ARIA BLACK
                                          crourt may decide against you without your being heard unless you respond

J      You have 30 CALENDAR DAYS after this summons and legal papers are sen+ed on you to file a written response at this court and have a copy
    served on the plaintiff. A letter or phone call will not proiect you, Your written response must be in proper legal form if you want the court to hear your
    case. There may be a court form that you can use fcr ycur response, You can find these court forms and more information at the California Courts
    Ortlitwe Self-Help Center (4nvv.,.co(iriinlo.ce.govlsoftrre/p); your county law library, or the courthouse nearest you. If you cannol pay lhe filing fee, ask the
    court clerk for a fee waiver form. If you do not file your response on time. you may lose the case by default, and your wages, money, and property may
 be taken without further wam ng from the court,
    There are other legal requiremenEs. You may want to call an attomey right away. If you do rat kr,ow an attorney, you may want to call ar: attorney
 referral service. (f you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (trvwJavJhelpcalitomia.ong), the California Courts Online Self-Help Center
 (tarvxteourtinro.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE; The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's (ien must be paid before.the court will dismiss the case,
alA1/lSOr Lo han demandado. Si no respondP dentro de 30 dias, 1a corte puede decidiren su contra sin escuchar su version. Lea la informaclon a
icontinuacion.
i Tiene 30 DIAS fJE CALENDARlO de.spues de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito et? esta
lcorre y hacer que se entregue urra copia a! dernandante, Una carta o una Itamada teletrirrica no lo protegen. Su respuesta por escrito tiene que estar
~en fonnato legal correcto sl desea que procesen su caso en !a corte. Es posible que heya un tormularro que usted pueda usar para su respuesta.
iPuede encontrar estos lormularios de la eorte y mas inlormacibn en el Centro de Ayuda de fas Cortes de Calffornia (vvmv.sucorfe.ca.gov), erl la
`bibfioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar !a cuota de pn:sentacron, pida al secretario de la corte que
 le de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a b'empe, puede perder el caso por incumptimiento y ta corte 1e podrp
    qtritar str sueldo, dinero y bienes sin mds advertencia.
      Hay otras requisftos /egales. Es recomendable que tlame a un abogado inmediatamente. Si no conoce a un abogado, puede 1lamar a un serviclo de
    remisidn a abogados, Si no puede pagar a uri abogado, es posible que curnpla con los requisitos para obtener servicios legafes gratuilos de un
    programa dc servicios legates s!n fines de lucro. Puodc encontrar estos grupos sin fHies de ltrcro en e! sitio ►veb de Califomia Legal Services;
    (wlaav,lawhetpcalifomfa.org), en el Centro de Ayuda de las Cortes de Califomia, (www.sucorte.ca.gov) o poniendose en conlacto cor,la corte o el
    colegio de abogadas locatcs. AVlSO: Por ley, la corto tfene derecho a reclam5r las cuotas y los costos exentos por imponer un gravamen sobre
lcualquier recuperaci6n de $10,000 8 mus de valor recibida mediante rrn acuerdo o una concesidn de orbilraje en un caso de derecho civil. Tiene que
i pagar el gravamen de 1& corte antes de que ta corte pueda desecherel caso.
The name and address of the caurt is:                                                                           CASE NUMBER: (Ntimeno del Caso):
(El nombre y direccion de la corte es): SUPERIOR COURT OF THE STATE OF
CALIFORNIA, County of San Joaquin, 180 E Weber Avenue, Stockton, CA 95202                                           STK-CV-UWT2023-O0G071=,;

The name, address, and telephone number of plaintiffs attorney, or ptaintiff without an attomey, is: (EI nombre, la direccion y el ntimero
de tetefono del abogado del detnandante, o del demandante que no tiene abogado, es):
FLETCHER B. BROWN (State Bar No. 276390), 4400 Keller Ave. #381 Oakland, CA 94605, 510-986-0441
                                                                              Clerk, by                                                                  , Deputy
~ec~) 2023-01-26                                          Brandon E. Riley    (Secretario)                                                               (Adjunto)
(For prool of servica of ttiis summons, use Proof of Service of Summons (forrn POS-010).)
(Para prueba de onfrega de esta citatibri use el formulario Proof of Service of Summons, (POS-010),)
                                          NOTICE TO THE PERSON SERVED: You are served
                                          1.   ®      as an individual defendant.
                                          2.   Q      as the person sued under the fictitious name of (specify):

                                          3. ®        on behalfof (specify): AMAZON.COM SERVICES LLC
                                               under: =      CCP 416,10 (corporation)                CCP 416,60 (minor)
                                                        ~]   CCP 416.20 (defunct corporation)        CCP 416,70 (cons.ervatee)
                                                        ~    CCP 416.40 (association or partnership) CCP 416,90 (authorized person)
                                                       ® other (specify): COI'p COde 17701.16-LLC
                                          4.   M      by personal deGvery on (dale)                                                                         Paae 1 of 1
Fxm Adopk:d rty btandalory Use                                                                                                       catOotaMtPro«rn,rogg<•2.2c 4ss
JudM{3I Couxil or Ca; I•.xnia                                               SUMMONS
                                                                                                                                                      N•YAr.CJ4IrSCd,SJv
SUM.1C0 IRer, Juty t iQ.^9J
         Case 2:23-cv-00434-JAM-JDP Document 1-3 Filed 03/08/23 Page 3 of 13
                                                                       Electronicafly Fiisd
                                                                   Superior Cour# of Cal,₹ornia
                                                                     Cotinty of San Jc,-~-uin
     FLETCHER B. BROWN (State Bar No. 2763190)                        2f323-01-26 13:59:44
     FLETCHER B. BROWN LAW FIRM                                       Clsrk: Kacey Sutton
     4400 Keller Ave. #381
     Oakland, CA 94605                                            Case tvlanagement Conference'
     Fletcher iriFletcherBrown.lmv                                 2(723-f}7-26 8:45AM in 10B
     Telehhone: 51.0-986-0441                                      STK-Ctt-UWT=2Cl23-0000714
     Facsiniile: 510-978-4717

     Attorney for Plaintiff,
     ARIA BLACK

                       StJPERIC)R C®URT ()F TI-dE STATE C)T` CALiFORIiTIA
                                  COl1NTY CDI;' SAN J0AQUIN
                                  UNLINIITED J URISI)ICTION



     ARIA BLACK,                                  ) Case No.:
                     Plaintiff,
14                                    )) CO;VIPLAINT FOR:
             vs.                       )
15                                     )    1. DISABILITY DISCRIMINATION,
     AMAZON.COM SERVICES LLC; and DOES)     2. RETALIATION FOR REQUESTING
16                                     )        A REASONABLE
     1-20, inclusive,                  )        ACCOMIVIODATION,
17
                    Defendants.        )    3. FAI.LURE TO REASONABLY
iQ                                     )        ACCOMMODATE; AND
                                       )    4. FAILURE TO ENGAGE IN THE
19                                     )        INTERACTIVE PROCESS.
20                                                )
                                                 )
21                                                ) [:iURY TRIAL DEMANDED]

22
                                                 )
                                                  \

23                                                J
                                                 )
24

25

28

27

28



                                          Complaint fur Damagcs
             Case 2:23-cv-00434-JAM-JDP Document 1-3 Filed 03/08/23 Page 4 of 13
L




     1          Aria Black (hereinafter "Plaintiff") was an employee of Amazon.com Services LLC
     2   (hereinafter "Defendant") and was wrongfully terminated for pretextual reasons by Defendant
     3   The real reason for her termination was because of Disability Discriinination, Retaliation fo:
     4   requesting a reasonable accommodation. Defendants also failed to reasonably accommodatf
     5   Plaintiff and Failed to Engage in the Interactive Process. Plaintiff hereby demands a Jury Trial
     6   complains, and alleges the following:
     7                                                 PARTIES
     s      1. Plaintiff is an individual that lived and worked in California throughout the events
     9          detailed in this coinplaint.   -
    10      2. Amazon.com Services LLC is located at 1555 N Chrisman Rd, Tracy, CA, 95304-9370.
    11          Defendant's headquarters are located in 410 Terry Avenue North Seattle, WA 98109.
    12          Defendant has done business in the County of San Joaquin.
    13      3. The true nanies and capacities of defendants nanied as DOES 1 tln-ougli 20 are unknown
    14          and are therefore sued by fictitious names. Plaintiff will ainend this coinplaint to show
    15          the true names and capacities when they are ascertained.
    16


    17                                             GENERAL FACTS
    18      4. In mid-May 2019, Plaintiff was hired in a stower position by Defendant.
    19      5. Plaintiff's performance was satisfactory throughout her employment with Defendant.
    20      6. Plaintiff's supervisor was Shannon McGuinness (hereinafter as "Ms. McGuinness")
    21      7. On June 19th, 2019, Plaintiff was injured while on the job. Plaintiff was evaluated by a
    22          doctor at Concentra through telemedicine.
    23      8. On June 19th, 2019, Plaintiff sustained a work-related cumulative injury to her right hand
    24          and wrist and became disabled and protected by the California Fair Employment and
    25          Housing Act ("FEHA") Government Code Section 12940(a). Among other major life
    26          activities, Plaintiff became substantially limited in her ability to engage in certain
    27          activities of daily living and work. Specifically in regard to work, Plaintiff was limited in
    2s          her ability to perform work activities such as lifting heavy objects, repetitive


                                                     Complaint for Damages
      Case 2:23-cv-00434-JAM-JDP Document 1-3 Filed 03/08/23 Page 5 of 13



 1
         keyboarding, writing, gripping, and limited pushing and pulling up to 5 pounds to 25
 2
         pounds.
 3
      9. On June 20th, 2019, Plaintiff reported her injury to Ms. McGuinness, and continued
 4
         working without any accommodation until June 24, 2019.
 5
      10. On June 24th, 2019, Plaintiff had a telemedicine appointment where she received the
 6       following medical restrictions: no lifting, pushing/pulling up to 51bs, gripping/squeezing
 7
         with right upper extremity, and required to wear a brace.
 8
      11. On June 26th, 2019, Plaintiff was transfen•ed to the Store Shop Department.
 9
      12. Plaintiff was informed by a Human Resources personnel named Amber poe (hereinafter
lo       as "Ms. Amber") that Plaintiff's position in the Store Shop Department would be ended
11
         in late December 2019 and that Plaintiff would be able to return to the Stower position by
12
         January 2020.
13
      13. In late January 2020, Plaintiff received a call from the HR department of Defendant
14
         referring to her reintegration to duties, Plaintiff affirmed her intentions to continue
15
         working with Defendant and requested a reasonable accommodation for her ongoing .
16
         injury.
17
      14. Shortly thereafter, Plaintiff received a"job abandonment" email from Defendant for
18
         which Plaintiff reiterate her intention to keep her job.
19
      15. On Apri14, 2020, Defendant sent Plaintiff a letter stating that Plaintiff was terminated
20.
         effectively on Apri12, 2020. Defendant terminated Plaintiff without good cause, kno1A
21
         .it lacked good cause and for stated reasons that were pre-textual. The real reason for
22
         Plaintiff's termination was because of her disability and requesting a reasonab.le
23
         accommodation. Defendant also failed in their duty to provide a reasonable
24
         accommodation and to engage in the interactive process, terminating Plaintiff while she
25
         was still receiving treatment for her work-related injury.
26
      16. Plaintiff requested and received a Right to Sue Letter from the Department of Fair
27
         Housing and Einployment on November 18th, 2022.
28




                                            Complaint for Damages
     Case 2:23-cv-00434-JAM-JDP Document 1-3 Filed 03/08/23 Page 6 of 13



 1                                     FIRST CAiJSE OF ACTION
 2
                                 DISABILITY DISCRIMATION
 3      As a first, separate and distinct cause of action, Plaintiff complains against
 4      and Does 1 through 20, and each of them, and for a cause of action alleges:
 5   17. Plaintiff hereby incorporates- by reference the factual allegations contained in Paragraphs
 6      4 through 15 of this pleading.
 7   18. Plaintiff was discharged from employinent for reasons that violate public policy. It is a
 8      violation of public policy to discharge someone from employment because of a disability
 9      as defined by the California Fair Employment and Housing Act Government Code
lo      Section 12940(a).
11   19. California has a public policy of not discriminating against disabled persons and this
12      policy is codified within the Fair Employment and Housing Act.
13   20. Plaintiff was disabled as defined in the California Fair Housing and Employment Act.
14   21. As a direct, proximate and legal result of Defendants' unlawful employinent pi•actices as
15      alleged above, plaintiff has suffered and continues to suffer economic and non-economic
16      damages to an extent and amount according to proof at the time of trial. Economic
17      damages shall include, but are not limited to, and all claims for lost wages, benefits,
18      salary increases and income, both past and future. Non-economic damages shall include
19      but are not limited to the fear, humiliation, emotional distress, and mental, or emotional
20      or physical pain and anguish that has been and/or will foreseeably be experienced by
21      plaintiff, all to their daniage and detriment, in a sum according to proof at trial.
22   22. Plaintiff is entitled to any and all compensatory, emotional distress and punitive damages
23      recoverable under California law, as well as costs and attorney's fees as provided by
24      statute.
25


26


27


28




                                            Complaint for Damages
              Case 2:23-cv-00434-JAM-JDP Document 1-3 Filed 03/08/23 Page 7 of 13
ti




          1
                                             SECOND CAUSE OF ACTION
          2      RETALIATION FOR REQUESTING REASONABLE ACCOMMODATION
          3   As a second, separate and distinct cause of action, Plaintiff coinplains against Defendants ar
          4   Does 1 through 20, and each of them, and for a cause of action alleges:
          5   23. Plaintiff hereby incorporates by refereiice Paragraphs 4 through 21, inclusive, as though
          6       set forth here in full.
          7   24. Defendant and Does 1 through 20, and each of them, retaliated agaiiist Plaintiff because
          s       of her requesting reasonable accommodation, in violation of the California Fair
          9       Einployment and Housing Act.
     lo       25. Plaintiff timely filed an administrative complaint of Defendant's retaliation against her
     ii           because of requesting reasonable accommodation. The California Department of Fair
     12           Employment and Housing issued Plaintiff a Right to Sue Letter within one year befoi-e
     13           the filling of this lawsuit.
     14       26. As a direct, proximate and legal result of Defendants' unlawful employment practices as
     15           alleged above, plaintiff has suffered and continues to suffer economic and non-economic
     16           damages to an extent and ainount according to proof at the tiine of trial. Economic
     17           damages shall include, but are not limited to, and all claims for lost wages, benefits,
     18           salary increases and income, botli past and future. Non-economic daniages shall include
     19           but are not limited to the fear, humiliation, emotional distress, and mental, or einotional
     20           or physical pain and anguish that has been and/or will foreseeably be experienced by
     21          plaintiff, all to their damage and detriinent, in a sum according to proof at trial.
     22       27. Defendant and Does 1 through 20, and each of them, acted oppressively, fraudulently,
     23          and maliciously, in willful and conscious or disregard of the rights of Plaintiff, and with
     24          the intention of causing or in reckless disregard of the probability of causing his injury
     25          and emotional distress.
     26       28. Plaintiff is entitled to any and all compensatory, emotional distress and punitive damages
     27          recoverable under California law, as well as costs and attorney's fees as provided by
     2E          statute.


                                                     Complainl for Damages
     Case 2:23-cv-00434-JAM-JDP Document 1-3 Filed 03/08/23 Page 8 of 13



 1
                                  THIRD CAUSE OF ACTION
 2
               FAILURE TO PROVIDE REASONABLE ACCOMMODATION
 3          As a third, separate and distinct cause of action, Plaintiff complains against
 4   Defendants and Does 1 through 20, and each of them, and for a cause of action alleges:
 5   29. Plaintiff hereby incorporates by reference Paragraphs 4 through 27, inclusive, as though
 6      set forth here in full.
 7   30. Defendants and Does 1 through 20, and each of them, failed to reasonably accommodate
 s      Plaintiff for his injury, in violation of the California Fair Einployinent and Housing Act,
 9      Govermnent Code Section 12490(m)(1).
lo   31. Defendant discharged Plaintiff on December 28th, 2019, for pre-textual reasons. The real
11      reason was because of her disability, requesting a reasonable acconuizodation and
12      complaining about workplace violence.
13   32. As a direct, proximate aiid legal result of Defendants' unlawful eniployment practices as
14      alleged above, plaintiff has suffered and continues to suffer economic and non-econoinic
15      daniages to an extent and amount according to proof at the time of trial. Economic
16      damages shall include, but are not limited to, and all claims for lost wages, benefits,
17      salary increases and income, both past and future. Non-economic darnages shall include
1s      but are not limited to the fear, humiliation, emotional distress, and mental, or emotional
19      or physical pain and anguish that has been and/or will foreseeably be experienced by
20      plaintiff, all to their damage and detriment, in a sum according to proof at trial.
21   33. Defendant and Does 1 through 20, and each of theni, acted oppre.ssively, fraudulently,
22      and maliciously; in willful and conscious or disregard of the rights of Plaintiff, and with.
23      the intention of causing or in reckless disregard of the probability of causing his injury
24      and emotional distress.
25   34. Plaintiff is entitled to any and all compensatory, emotional distress aiid punitive damages
26      recoverable under California law, as well as costs and attorney's fees as provided by
27      statute.
2s




                                           Complaint for Damages
     Case 2:23-cv-00434-JAM-JDP Document 1-3 Filed 03/08/23 Page 9 of 13



 1                                   FOURTH CAUSE OF ACTION
 2
                   FAILURE TO ENGAGE IN THE INTERACTIVE PROCESS
 3          As a fourth, separate and distinct cause of action, Plaintiff complains against
 4   Defendants and Does 1 through 20, and each of them, and for a cause of action alleges:
 5   35. Plaintiff hereby incorporates by reference Paragraphs 4 through 33, inclusive, as though
 6      set forth here in full.
 7   36. Defendants and Does 1 through 20, and each of them, failed to timely engage in the
 8      interactive process, in violation of the California Fair Einployment and Housing Act,
 9      Government Code Section ] 2490(m)(1).
lo   37. As a direct, proximate and legal result of Defendants' unlawful employment practices as
11      alleged above, plaintiff has suffered and continues to suffer economic and non-economic
12      damages to an extent and aniount according to proof at the time of trial. Economic
13      daniages shall include, but are not limited to, and all claims for lost wages, benefits,
14      salary increases and income, both past and future. Non-economic damages shall include
15      but are not limited to the fear, humiliation, emotibnal distress, and mental, or emotional
16      or physical pain and anguish that has been- andlor will foreseeably be experienced by
17      plaintiff, all to their damage and detriinent, in a sum according to proof at trial.
18   38. Defendant and Does 1 tlirough 20, and each of them, acted oppressively, fraudulently,
19      and maliciously, in willf-ul and conscious or disregard of the rights of Plaintiff, and with
20      the intention of causing or in reckless disregard of the probability of causing his injury
21      and emotional distress.
22   39. Plaintiff is entitled to any and all compensatory, emotional distress and_punitive damages
23      recoverable under California law, as well as costs and attorney's fees as provided by
24      statute.
25


26


27


28




                                            Complaint for Damages
        Case 2:23-cv-00434-JAM-JDP Document 1-3 Filed 03/08/23 Page 10 of 13



 1                                        PRAYER FOR RELIEF
 2
     WHEREFORE, Plaintiff, prays for judgment against Defendant and each of them, as follows:
 3      A. Plaintiff is entitled to Economic Daxnages including back pay and future loss of earnings.
 4      B. Plaintiff is entitled to Damages for Emotional Distress for prior emotional distress and
 5          emotional distress "reasonably certain to result in the future".
 6      C. Plaintiff is entitled to Punitive Damages to punish Defendant.
 7      D. Plaintiff is entitled to costs to bring the action.
 8      E. Plaintiff is entitled to attorney fees in bringing the action. (FEHA)
 9      F. Plaintiff asks the Court for any other relief which the Court deeins proper.
10


11


12   Dated this January 17'h, 2023,
13


14


15


16


17                                                          Fletcher }iernard Brown Esq.
                                                            Attorney for Aria Black
18


19


20


21


22


23


24


25


26


27


28




                                                Complainl for Damages
                                                                                                                                                                     C M-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Barnumber, and addn=ss):
FLETC.HER B.Case
              BROWN 2:23-cv-00434-JAM-JDP
                       (State Bar No. 276390)                            Document 1-3 Filed 03/08/23 Page 11 of 13                 FOR COURT USE ONLY

4400 Keller Ave. #381
Oakland, CA 94605

         .    TELEPHONE NO.:   510-986-0441                      FAx No. (Optionaq: 510-978-4717
     ATTORNEY FOR (Name): ARIA BLACK                                                                                   Electronical#y Fiied
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN JOAQUIN                                                                 Superior GOurt of CalifOrnia
 STREETADDRESS: 180 E Weber AVenue                                                                                    Coun:y of SaI2 Joaquin
 MAILING ADDRESS:                                                                                                          2023-01-26 'i 3:59:=4
CITY AND ZIP CODE: StocktOn, CA 95202                                                                                       Cierk: Keeey Su-Ian
     BRANCH NAME:

CASE NAME:                                                                                                       ~ìaSe
                                                                                                                  .     McrnSge171ent CC1nff3fel'i1Ge
 ARIA BLACK vs AMAZON.COM SERVICES LLC; and DOES 1-20, inclusive                                                    20235-0 f-26 8:4.5AM fT1 1 OB
             CIVIL CASE COVER SHEET                                                                              CASE NUMBER:
                                                                     Complex Case Designation
Ox Unlimited                         0       Limited             0      Counter           0        Joinder         9 IK-C1J-LAVT-2023-000071a
             (Amount                         (Amount
                                                             Filed with first appearance by defendant            JUDGE:
             demanded                        demanded is
                                                                 (Cal. Rules of Court, rule 3.402)               DEPT.:
             exceeds $25,000)                $25,000)
                                              Items 1-6 below must be completed (see instructions on page 2).
      Check one box below for the case type that best describes this case:
     Auto Tort                                   Contract                                                    Provisionally Complex Civil Litigation
     0          Auto (22)                                             Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
     ~     Uninsured motorist (46)                          0         Rule 3.740 collections (09)            0      AntitrustlTrade regulation (03)
     Other PI/PD/WD (Personal Injury/Property                         Other collections (09)                 0      Construction defect (10)
     Damage/Wrongful Death) Tort                                      I                                      ~      Mass tort (40)
                                                            ~           nsurance coverage (18)
     ~          Asbestos (04)                                                                                ~      Securities litigation (28)
                                                            0     Other contract (37)
     ~          Product liability (24) -                                                                     ~     Environmental/Toxic tort (30)
                                                            Real Property
     ~          Medical malpractice (45)                                                                     ~     Insurance coverage claims arising from the
                                                            ~         Eminent domain/Inverse
                                                                                                                   above listed provisionally complex case
     ~    Other PI/PD/WD (23)                                         condemnation (14)
                                                                                                                   types (41)
     Non-PI/PD/WD (Other) Tort                              ~         Wrongful eviction (33)                 Enforcement of Judgment
     ~          Business torUunfair business practice (07) 0    Other real property (26)                     0      Enforcement of judgment (20)
     0          Civil rights (08)                          Unlawful Detainer
                                                                                                             Miscellaneous Civil Complaint
     0          Defamation (13)                             0         Commercial (31)
                                                                                                             0      RICO (27)
     0          Fraud (16)                                  0         Residential (32)
                                                                                                             ~      Other complaint (not speciried above) (42)
     0          Intellectual property (19)                  0         Drugs (38)
                                                                                                             Miscellaneous Civil Petition
     ~          Professional negligence (25)                 Judicial Review
                                                                                                             ~      Partnership and corporate governance (21)
     ~    Other non-PI/PDNVD tort (35)                       0        Asset forFeiture (05)
     Employment                                              0        Petition re: arbitration award (11)    ~      Other petition (notspecified above) (43)

     Ox         Wrongful terniination (36)                  ~         Writ of mandate (02)
     0          Other employment (15)                       ~         Other judicial review (39)

2.  This case 0       is    F— x-1 is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.        Large number of separately represented parties       d. 0      Large number of witnesses
   b. 0      Extensive motion practice raising difficult or novel e. 0      Coordination with related actions pending iri one or more
             issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
   C. 0      Substantial amount of documentary evidence                     court
                                                                  f. 0      Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. x~ monetary b. 0            nonmonetary; declaratory or injunctive relief c. EK] punitive
4. Number of causes of action (specify):
5.       This case 0           is        =    is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: January 17., 2023                                                                                      '
Fletcher B. Brown
                                    E OR PRINT NAME)                                                               (SIGNr'\TURE OF PARTY OR ATTORNEY FOR


  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  ~ File this cover sheet in addition to any cover sheet required by local court rule.
  ~ If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  ~ Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                     Paae 1 of 2
Form Adopted for Mandatory Use                                                                                      .   Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
Judicial Council of Califomia                                    CIVIL CASE COVER SHEET                                         Cal. Slandards of Judicial Administration, sld. 3.10
CM-010 [Rev. July 1, 2007]                                                                                                                                     www.courts.ca.gov
                  Case 2:23-cv-00434-JAM-JDP
                           INSTRUCTIONS ON HOW Document 1-3THE
                                               TO COMPLETE   Filed 03/08/23
                                                               COVER  SHEET Page 12 of 13                                                 CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained .on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the flrst paper f[led in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
  Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death .                       Breach of Rena    t l/L ease                     AntitrusUTrade Regulation (03)
        Uninsured Motorist (46) (if the                       Contract (not unlawful detainer             Construction Defect (10)
         case involves an uninsured                                or wrongful eviction)                  Claims Involving Mass Tort (40)
        motorist claim subject to                        ContractNVarranty Breach—Seller                  Securities Litigation (28)
         arbitration, check this item                         Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
        instead ofAuto)                                  Negligent Breach of ContracU                     Insurance Coverage Claims
  Other PI/PD/WD (Personal Injury/                            Warranty                                           (arising from provisionally complex
  Property Damage/Wrongful Death)                        Other Breach of ContracUWarranty                        case type listed above) (41)
  Tort                                               Collections (e.g., money owed, open           Enforcement of Judgment
      Asbestos (04)                                      book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case—Seller Plaintiff                   Abstract of Judgment (Out of
          Asbestos Personal Injury/                      Other Promissory Note/Collections                        County)
                Wrongful Death                                Case                                      Confession of Judgment (non-
      Product Liability (not asbestos or             Insurance Coverage (not provisionally                   domestic relations)
           toxic%nvironmental) (24)                      complex) (18)                                  Sister State Judgment
      Medical Malpractice (45)                           Auto  Subrogation                              Administrative Agency Award
            Medical Malpractice—                         Other Coverage                                     (not unpaid taxes)
                 Physicians & Surgeons               Other Contract (37)                                Petition/Certification of Entry of
      Other Professional Health Care                     Contractual Fraud                                   Judgment on Unpaid Taxes
               Malpractice                               Other  Contract Dispute                         Other Enforcement of Judgment
      Other PI/PDlWD (23)                        Real Property                                                 Case
            Premises Liability (e.g.,.slip           Eminent Domain/Inverse                        Miscellaneous Civil Complaint
                 and fall)                               Condemnation (14)                              RICO (27)
            Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                             Other Complaint (not specified
                  (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)             above) (42)
            Intentional Infliction of                    Writ of Possession of Real Property                  Declaratory Relief Only
                 Emotional Distress                      Mortgage Foreclosure                                 Injunctive Relief Only (non-
            Negligent Infliction of                      Quiet Title                                               harassment)
                  Emotional Distress                     Other Real Property (not eminent                     Mechanics Lien
            Other PI/PD/WD                               domain, landlord/tenant, or                          Other Commercial Complaint
  Non-PIIPD/WD (Other) Tort                              foreclosure)                                              Case (non-torbnon-complex)
      Business Tort/Unfair Business              Unlawu f l Deaner
                                                               t i                                            Other Civil Complaint
          Practice (07)                              Commercial (31)                                               (non-tort/non-complex)
       Civil Rights (e.g., discrimination,           Residential (32)                              Miscellaneous Civil Petition
             false arrest) (not civil                Drugs (38) (if the case involves Ulegal            Partnership and Corporate
             harassment) (08)                        drugs, check this item; otherwise,                      Governance (21)
      Defamation (e.g., slander, libel)              report as Commercial or Residential)               Other Petition (not specified
              (13)                               Judicial Review                                             above) (43)
      Fraud (16)                                     Asset Forfeiture (05)                                   Civil Harassment
      Intellectual Property (19) .                   Petition Re: Arbitration Award (11)                     Workplace Violence
      Professional Negligence (25)                   Writ of Manaed t ()  02                                 Elder/Dependent Adult
          Legal Malpractice                              Writ—Administrative Mandamus                             Abuse
          Other Professional Malpractice                 Writ—anamus
                                                               M d            on Lime it d Court             Election Contest
                (not medical or legal)                      Case    Maer
                                                                       ft                                    Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                       Writ—Other Limited Court Case                       Petition for Relief From Late
  Employment                                                Review                                                Claim
      Wrongful Termination (36)                      Other Judicial Review (39)                              Other Civil Petition
     .Other Employment (15)                              Review    of Health   Officer  Order
                                                         Notice of Appeal—Labor
                                                              Commissioner Appeals
CM•010 [Rev. July 1, 2007]                                                                                                                 Page 2 of 2
                                                          CIVIL CASE COVER SHEET
           Case 2:23-cv-00434-JAM-JDP Document 1-3 Filed 03/08/23 Page 13 of 13
                                  SUPERIOR COURT OF CALIFORNIA
                                                  County of San Joaquin .
                                                  180 E Weber Avenue
                                                  Stockton, CA 95202

                            NOTICE OF CASE ASSIGNMENT AND NOTICE OF HEARING

                                   Case Number: STK-CV-UWT-2023-0000714
A Case Management Conference has been scheduled for your case as indicated below. A copy of this information must
be provided with the complaint or petition, and with any cross-complaint that names a new party to the underlying action.
Disregard hearing date if that date has expired.
Hearing: Case Management                   Date: 07/26/2023                        Time: 8:45 AM Department:10B
Conference

JUDGE                                      COURT LOCATION                          PHONE Numbers:
THIS CASE HAS BEEN ASSIGNED TO JUDGE       StOcktOn                                Stockton: 209-992-5693
ERIN GUY CASTILLO IN DEPARTMENT 10B                                                LOdi:     209-992-5522
FOR ALL PURPOSES, INCLUDING TRIAL


[ X] ADR & Scheduling Information is available on the court website @ sjcourts.org/self-help
  1. You must:

             a. Serve all named defendant's and file proofs of service on those defendants with the court
                Within 60 days of filing of the coniplaint. (CRC 3.110)

             b. File and serve a completed Case Management Conference Statement (use of JC form CM-
                110 is mandatory) at least 15 days before the Case Management Conference.

             c. Meet and Confer, in person or by telephone, to consider each of the issues identified in CRC
                3.727 no later than 30 calendar days before the date set for the Case Management
                Conference. (CRC 3.724)

             d. Collection cases are managed pursuant to CRC 3.740.

 2. Case Management Conferences, Law and Motion and Ex Partes will be held remotely unless ordered otherwise. For
    telephonic appearance phone numbers, information and instructions visit @ https://www.sjcourts.org/division/civil.

 3. If this case was eFiled, the plaintiff/petitioner or their attorney must access their copy of this notice and the issued
    summons for senrice from the court's case management system at the following link:
    cros.sjcourts:ora/fullcourtweb/start.do.

 4. Courtesy Copies: Courtesy copies must be submitted as outlined in Local Rule 3-117. Courtesy copies (only) may
    be placed in the drop boxes locatecl on the 10th and 11'h floor. Courtesy copies .can also be placed in the drop box
    located outside of the courthouse.


     Visit our website @ www.sjcourts.orp for more information regarding civil cases, local rules, and forms.




     Date: 01/30/2023                                                       Kacey Sutton     Deputy Clerk




                         NOTICE OF CASE ASSIGNMENT AND NOTICE OF HEARING
